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     IT IS ORDERED as set forth below:



      Date: March 8, 2019
                                                       _________________________________

                                                                Jeffery W. Cavender
                                                           U.S. Bankruptcy Court Judge

    ________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                              :               CASE NO 18-53066-JWC
                                    :
                                    :               CHAPTER 13
                                    :
BRENT CHARLES WILLIAMS              :
     Debtor                         :
---------------------------------- --               ------------------------------
PENNYMAC LOAN SERVICES, LLC,        :
     Movant,                        :
                                    :               CONTESTED MATTER
vs.                                 :
                                    :
BRENT CHARLES WILLIAMS              :
NANCY J. WHALEY, Trustee            :
     Respondents.                   :

                           ORDER MODIFYING AUTOMATIC STAY

       PennyMac Loan Services, LLC, for itself, its successors and assigns, (the “Movant”), filed a

Motion for Relief from Automatic Stay on July 20, 2018 [Dkt. No. 26], which was set for a hearing on

August 28, 2018 and settled by a Consent Order (the “Order”) entered on September 5, 2018 [Dkt No.

35]. The Order required that Debtor pay certain payments to cure the post-petition arrearage and make
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future payments when due. Debtor`s property, which is the subject of the Motion is located at 9124

ALDEN DRIVE, LOCUST GROVE, GA 30248 (the “Property”). Movant filed a Default Motion on

March 6, 2019 [Dkt. No. 55] supported by an Affidavit asserting that Movant served a Notice of

Default in accordance with the terms of the Order providing Debtor an opportunity to cure and/or

contest a default. It appears that Debtor has failed to cure and/or contest said default within the time

allotted under the Order; accordingly, it is hereby

       ORDERED that the Motion is granted: the automatic stay of 11 U.S.C. §362 is MODIFIED to

allow Movant to foreclose the Property and take possession thereof in pursuit of its state law remedies;

provided, however, any proceeds remaining after foreclosure of the Property which exceed the lawful

claim of Movant shall be promptly remitted to the Chapter 13 Trustee. Trustee shall cease

disbursements to Movant on its Proof of Claim. The 14-day stay provided in Bankruptcy Ruled

4001(a)(3) shall not apply to this Order and Movant may proceed without further delay.




                                       [END OF DOCUMENT]

Prepared and Submitted by:

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